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                                                             U.S. DISTRICT COURT
To: Honorable Judge Tena Campbell: Your honor I respectably write this
day to ask for your help. Over a year ago, I filed for a compassionate
release and your honor told me I qualify in everything but I didn't have
2/3 of my sentence done, and I would be eligible Jan 15th 2021. As of
now Your Honor, I have been on home confinement since April of last
year, one the cares act. My case managers name is Rodney Priest. I have
asked federal defenders office to help me file but they told me ask my
attorney Deidre Gordman. Deirdre Gordman has told me she could not
help me; it has to go back to federal defender's office. So, I ask: If you
could find it in your heart to help me or tell me what I can do. I am sure
everything I have filed for compassionate release is still on file. I ask Your
Honor... if you would grant me this compassionate release, so I can
move forward with my wife and family, who have waited for me all
these years. I've done my time in the best and honorable way I could,
and have learned much and am very humbled by my mistakes. I have
taught others welding trades so when they get out, they can find work.
While I was in, I learned to sew Military outfits in Unicor. In these later
years of my life, I would like to be able to spend my life with my wife,
family and grandchildren. I truly appreciate you taking time out of your
schedule to read this. Thank you, Your Honor,

                                           Respectfully, Kim Beckstrom

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